                                                                                                            Case 1:03-md-01570-GBD-SN Document 9550-3 Filed 01/19/24 Page 1 of 18
                                                                                                                                                                 EXHIBIT B-2
                                                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
             Personal Representative                                                   Claimant                                                                               9/11 Decedent                                                             Claim Information                                                  Solatium Damages




                                                                                                                         Nationalit




                                                                                                                                                                                                      Nationalit
                                                                                                                         y on 9/11




                                                                                                                                                                                                      y on 9/11
                                                                                                                                                                                                                    Date of                                            Amendments &
#    First       Middle            Last   Suffix        claimant First        Middle        claimant Last    Suffix                          First        Middle            Last          Suffix                               9/11 Site       Case       Complaint                        Relationship   Documentation   Prior Award         Amount            Treble
                                                                                                                                                                                                                    Death                                               Substitutions

                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      305, at P4106,
                                                                                                                                                                                                                                                                      8393-1, at 22,
1                                                  E.                                  A.                             Unknown         Edward         L.            Allegretto                      United States 9/11/01      NY (WTC)     03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      26, 29, at 1826,
                                                                                                                                                                                                                                                                      8393-1, at 51,
2                                                  E.                    M.            A.                             United States   Manual                       Asitimbay                       Ecuador         9/11/01    NY (WTC)     03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      26, 29, at 2423,
                                                                                                                                                                                                                                                                      8393-1, at 19,
3                                                  J.                    C.            A.                             Unknown         Derrick        Christopher   Washington                      United States 9/11/01      NY (WTC)     03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      232, at P4041,
                                                                                                                                                                                                                                                                      8393-1, at 49,
4                                                  L.                                  A.                             United States   Lee            Alan          Adler                           United States 9/11/01      NY (WTC)     03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      77, at AP200,
5                                                  R.                    T.            A.                             Unknown         Donald         L.            Adams                           United States 9/11/01      NY (WTC)     03-cv-9849                 8393-1, at 20, 848   Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616, 3,
6                                                  Dwight                D.            Adams                          Unknown         Donald         L.            Adams                           United States 9/11/01      NY (WTC)     03-cv-9849                 at 865               Sibling                                       $    4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      77, at AP200,
7                                                  Heda                  K.            Adams                          Unknown         Donald         L.            Adams                           United States 9/11/01      NY (WTC)     03-cv-9849                 8393-1, at 20, 848   Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616, 3,
8                                                  Robert                C.            Adams                          Unknown         Donald         L.            Adams                           United States 9/11/01      NY (WTC)     03-cv-9849                 at 863               Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      232, at P4041,
                                                                                                                                                                                                                                                                      8393-1, at 49,
9                                                  Alice                 Fay Doerge    Adler                          Unknown         Lee            Alan          Adler                           United States 9/11/01      NY (WTC)     03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                      1:03-md-01570,
10                                                 Joseph                T.            Afflitto             Jr.       United States   Daniel         Thomas        Afflitto              Sr.       United States 9/11/01      NY (WTC)     03-cv-9849                 9528-1, at 1, 9532   Sibling                                       $    4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                                                                                      1:03-md-01570,
11                                                 Joseph                T.            Afflitto             Sr.       United States   Daniel         Thomas        Afflitto              Sr.       United States 9/11/01      NY (WTC)     03-cv-9849                 9528-1, at 1, 9532   Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
12                                                 Edward                              Albert                         Unknown         Jon            L.            Albert                          United States 9/11/01      NY (WTC)     03-cv-9849                 305, at P4587        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
13                                                 Maria                 Y.            Aldaco                         United States   Cora           Hidalgo       Holland                         United States 9/11/01      NY (AA11)    03-cv-9849                 155, at P2934        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      305, at P4106,
                                                                                                                                                                                                                                                                      8393-1, at 22,
14                                                 Louisa                              Allegretto                     Unknown         Edward         L.            Allegretto                      United States 9/11/01      NY (WTC)     03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616, 1,
15                                                 Michael               J.            Allen                          Unknown         Joseph         Ryan          Allen                           United States 9/11/01      NY (WTC)     03-cv-9849                 at 41                Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
16                                                 Dorothy               A.            Ancona                         Unknown         Susan                        Pinto                           United States 9/11/01      NY (WTC)     03-cv-9849                 26, 29, at 4151      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
17                                                 Betty                               Andrade                        Unknown         Michael        A.            Trinidad                        United States 9/11/01      NY (WTC)     03-cv-9849                 26, 29, at 4578      Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
18                                                 Margaret                            Apostol                        Unknown         Faustino                     Apostol                         United States 9/11/01      NY (Other)   03-cv-9849                 26, 29, at 1820      Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
19                                                 Ethel                               Asher                          Unknown         Michael        Edward        Asher                           United States 9/11/01      NY (WTC)     03-cv-9849                 232, at P3589        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      305, at P4150,
                                                                                                                                                                                                                                                                      8393-1, at 37,
20                                                 A.                                  B.                             United States   John           E.            Bulaga                Jr.       United States 9/11/01      NY (WTC)     03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      432, at P4782,
                                                                                                                                                                                                                                                                      8393-1, at 61,
21                                                 B.                    C.            B.                             Unknown         Nancy          Clare         Bueche                          United States 9/11/01      NY (WTC)     03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                      1:03-md-01570,
22                                                 C.                                  B.                             United States   Maurice        V.            Barry                           United States 9/11/01      NY (Other)   03-cv-9849                 3477, at 198         Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                      305, at AP254,
                                                                                                                                                                                                                                                                      5284-1, at 1,
                                                                                                                                                                                                                                                                      5296, 8393-1, at
23                                                 F.                    T.            B.                             United States   J.             Howard        Boulton               Jr.       Venezuela       9/11/01    NY (WTC)     03-cv-9849                 29, 8487             Child                                         $    8,500,000.00 $    25,500,000.00




                                                                                                                                                                                   Page 1 of 18
                                                               Case 1:03-md-01570-GBD-SN Document 9550-3 Filed 01/19/24 Page 2 of 18
                                                                                                              EXHIBIT B-2
                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT

                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                       232, at P3896,
24                           G.                     B.               Unknown         Angela      Susan     Perez                     United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 3, 8494   Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                       1:03-md-01570,
25                           J.                     B.               United States   Maurice     V.        Barry                     United States 9/11/01   NY (Other)   03-cv-9849   3477, at 198         Child     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                       232, at P3896,
26                           J.                     B.               Unknown         Angela      Susan     Perez                     United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 3, 8494   Child     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                       232, at P3896,
27                           K.                     B.               Unknown         Angela      Susan     Perez                     United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 3, 8494   Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                       305, at P4150,
                                                                                                                                                                                       8393-1, at 37,
28                           R.                     B.               United States   John        E.        Bulaga           Jr.      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                       1:02-CV-01616,
                                                                                                                                                                                       26, 29, at 2608,
                                                                                                                                                                                       8393-1, at 85,
29                           S.                     B.               Unknown         Walter                Baran                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                       1:02-CV-01616,
                                                                                                                                                                                       26, 29, at 2608,
                                                                                                                                                                                       8393-1, at 86,
30                           S.                     B.               Unknown         Walter                Baran                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                       1:02-CV-01616,
31                           Soultana               Bantis           Unknown         Katherine             Bantis                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2603      Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                       1:02-CV-01616,
32                           Carol      Ann         Baran            Unknown         Walter                Baran                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2608      Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                       1:02-cv-01616, 3,
33                           Nicholas               Barbaro          United States   Paul        Vincent   Barbaro                   United States 9/11/01   NY (WTC)     03-cv-9849   at 895               Parent    $   8,500,000.00 $    25,500,000.00
                                                                     Dominican                                                                                                         1:02-cv-01616,
34                           Marina                 Barbosa          Republic        Victor      Daniel    Barbosa                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1832      Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                       1:03-md-01570,
35                           Esther     R.          Barbuto          Unknown         Philip      Paul      Ognibene                  United States 9/11/01   NY (WTC)     03-cv-9849   3477, at 2673        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                       155, at P2821,
                                                                                                                                                                                       8393-1, at 55,
36                           Marianne   Joan        Barry            Unknown         Maurice     V.        Barry                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                       1:02-cv-01616, 3,
37                           Maureen    Elizabeth   Barry            United States   Diane                 Barry                     United States 9/11/01   NY (WTC)     03-cv-9849   at 905               Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                       1:02-cv-01616,
38                           Grant      James       Bilcher          Unknown         Brian                 Bilcher                   United States 9/11/01   NY (Other)   03-cv-9849   77, at P2536         Child     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                       77, at P2537,
39                           Tina       Marie       Bilcher          Unknown         Brian                 Bilcher                   United States 9/11/01   NY (Other)   03-cv-9849   8393-1, at 7, 8487   Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                       1:02-cv-01616,
40                           Albert     A.          Blackman   Sr.   Unknown         Albert      Balewa    Blackman         Jr.      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2675      Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                       232, at P3601,
                                                                                                                                                                                       8393-1, at 14,
41                           Neil                   Blass            Unknown         Craig       Michael   Blass                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                       1:03-cv-9849,
                                                                                                                                                                                       HAND FILED, at
42                           Harvey                 Blomberg         Unknown         Jonathan              Uman                      United States 9/11/01   NY (Other)   03-cv-9849   P5292                Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                       1:02-cv-01616, 3,
43                           John                   Bonomo           Unknown         Yvonne      L.        Bonomo                    United States 9/11/01   NY (WTC)     03-cv-9849   at 923               Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                             VA                        1:02-cv-01616,
44                           Juana      B.          Borrero          Unknown         Diana       B.        Padro                     United States 9/11/01   (Pentagon)   03-cv-9849   155, at P3057        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                             VA                        1:02-cv-01616,
45                           Myriam                 Borrero          United States   Diana       B.        Padro                     United States 9/11/01   (Pentagon)   03-cv-9849   155, at P3059        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                       1:02-cv-01616,
46                           Erin       G.          Bratton          Unknown         Michelle    Renee     Bratton                   United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3610        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                       1:02-cv-01616,
47                           William    J.          Bratton    III   Unknown         Michelle    Renee     Bratton                   United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3613        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                       1:03-md-01570,
48                           Leslie                 Brown            Unknown         Jeffrey     Alan      Coale                     United States 9/11/01   NY (WTC)     03-cv-9849   3477, at 655         Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                                       432, at P4782,
                                                                                                                                                                                       8397-1, at 3,
                                                                                                                                                                                       8433, 8393-1, at
49   Bridget   C.   Bueche   James      T.          Bueche           Unknown         Nancy       Clare     Bueche                    United States 9/11/01   NY (WTC)     03-cv-9849   61, 8487             Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                       1:02-cv-01616,
50                           Chris                  Burke            Unknown         Thomas      Daniel    Burke                     United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2832        Sibling   $   4,250,000.00 $    12,750,000.00



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                                                                                            EXHIBIT B-2
                                                                       SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                     305, at AP254,
                                                                                                                                                                     5284-1, at 1,
                                                                                                                                                                     5296, 8393-1, at
51   Vigdis           Vaka      Burke           United States   J.            Howard    Boulton           Jr.      Venezuela    9/11/01    NY (WTC)     03-cv-9849   29, 8487             Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                     1:02-cv-01616,
52   Wendy                      Burlingame      Unknown         Charles       F.        Burlingame        III      United States 9/11/01   VA (AA77)    03-cv-9849   305, at P4154        Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616, 3,
53   Carrie                     Burlock         Unknown         Kenneth       Albert    Zelman                     United States 9/11/01   NY (WTC)     03-cv-9849   at 1759              Sibling   $   4,250,000.00 $    12,750,000.00

                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                     232, at P4050,
54   C.               E.        C.              United States   Christopher   M.        Colasanti                  United States 9/11/01   NY (WTC)     03-cv-9849   8466-1, at 2, 8487   Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                     432, at P4797,
                                                                                                                                                                     8393-1, at 50,
55   C.               N.        C.              Unknown         Linda         M.        Colon                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616, 1,
                                                                                                                                                                     at 100, 8393-1, at
56   J.                         C.              Unknown         Lillian                 Caceres                    United States 9/11/01   NY (WTC)     03-cv-9849   49, 8487             Child     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                     232, at P3634,
57   J.                         C.              Unknown         Stephen       Patrick   Cherry                     United States 9/11/01   NY (WTC)     03-cv-9849   8466-1, at 2, 8487   Child     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                     26, 29, at 1893,
58   J.               H.        C.              Unknown         James         Lee       Connor                     United States 9/11/01   NY (WTC)     03-cv-9849   8466-1, at 1, 8487   Child     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                     26, 29, at 1893,
59   J.               P.        C.              United States   James         Lee       Connor                     United States 9/11/01   NY (WTC)     03-cv-9849   8466-1, at 1, 8487   Child     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                     232, at P4050,
60   L.               V.        C.              United States   Christopher   M.        Colasanti                  United States 9/11/01   NY (WTC)     03-cv-9849   8466-1, at 2, 8487   Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                     432, at P4797,
                                                                                                                                                                     8393-1, at 50,
61   T.               M.        C.              Unknown         Linda         M.        Colon                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616, 3,
                                                                                                                                                                     at 1006, 8466-1,
62   T.                         C.              Unknown         Kevin         P.        Connors                    United States 9/11/01   NY (WTC)     03-cv-9849   at 2, 8487           Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                     26, 29, at 4818,
                                                                                                                                                                     8393-1, at 33,
63   V.               M.        C.              United States   Jeffrey                 Giordano                   United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616, 1,
64   Julio                      Caceres         Unknown         Lillian                 Caceres                    United States 9/11/01   NY (WTC)     03-cv-9849   at 100               Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                     1:02-cv-01616, 1,
65   Steven           T.        Campbell        Unknown         Jill          Marie     Campbell                   United States 9/11/01   NY (WTC)     03-cv-9849   at 103               Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                     1:02-cv-01616,
66   Karina                     Cannon          Unknown         Sharon                  Moore                      United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4898        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                     1:02-cv-01616,
67   Nicole           Theresa   Carey           Unknown         Dennis        M.        Carey                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2801      Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616,
68   Amanda           Marie     Carpenter       United States   Donald        H.        Gregory                    United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3705        Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616, 3,
69   Kevin                      Carr            Unknown         Mary                    Herencia                   United States 9/11/01   NY (WTC)     03-cv-9849   at 1228              Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                     1:02-cv-01616, 3,
70   Peter                      Carr            Unknown         Mary                    Herencia                   United States 9/11/01   NY (WTC)     03-cv-9849   at 1229              Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                     1:02-cv-01616, 1,
71   Cynthia          M.        Casserly        Unknown         Harvey        L.        Harrell                    United States 9/11/01   NY (Other)   03-cv-9849   at 884               Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                     1:02-cv-01616, 3,
72   Lakshmi                    Chalasani       Unknown         Swarna                  Chalasani                  United States 9/11/01   NY (WTC)     03-cv-9849   at 984               Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616, 1,
                                                                                                                                                                     at 122, 8393-1, at
73   Nageswararao               Chalasani       Unknown         Swarna                  Chalasani                  United States 9/11/01   NY (WTC)     03-cv-9849   79, 8487             Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616, 3,
74   Sandhya                    Chalasani       Unknown         Swarna                  Chalasani                  United States 9/11/01   NY (WTC)     03-cv-9849   at 987               Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                     1:02-cv-01616, 3,
75   Sujana                     Chalasani       Unknown         Swarna                  Chalasani                  United States 9/11/01   NY (WTC)     03-cv-9849   at 986               Sibling   $   4,250,000.00 $    12,750,000.00
     Venkateswanang                                                                                                                                                  1:02-cv-01616, 3,
76   o                          Chalasani       Unknown         Swarna                  Chalasani                  United States 9/11/01   NY (WTC)     03-cv-9849   at 985               Sibling   $   4,250,000.00 $    12,750,000.00




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                                                                                                                         EXHIBIT B-2
                                                                                                    SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   232, at P3639,
                                                                                                                                                                                                   8397-1, at 6,
                                                                             Dominican                                                                                                             8433, 8393-1, at
77   Mauricio               Chevalier   Zeneida    Mercedes   Chevalier      Republic        Nestor       Julio       Chevalier         Jr.      United States 9/11/01   NY (WTC)     03-cv-9849   61, 8487              Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
78                                      Dylan      Sang       Chirls         United States   Catherine    Ellen       Chirls                     United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2564          Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
79                                      Elaine                Clancy         Unknown         Kenneth      Wilburn     White                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P4019         Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
80                                      Marie                 Colbert        Unknown         Michel       Paris       Colbert                    United States 9/11/01   NY (WTC)     03-cv-9849   at 996                Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
81                                      Eileen                Coll           Unknown         Robert       Joseph      Coll              II       United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2852         Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   432, at P4797,
                                                                                                                                                                                                   8393-1, at 50,
82                                      Carlos     R.         Colon          Unknown         Linda        M.          Colon                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                  Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
83                                      Joanna     M.         Cook           United States   Donald       Americo     DiTullio                   United States 9/11/01   NY (AA11)    03-cv-9849   26, 29, at 3031       Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 2896,
                                                                                                                                                                                                   8393-1, at 69,
84                                      Caroline              Cordice        Unknown         Robert       J.          Cordice                    United States 9/11/01   NY (Other)   03-cv-9849   8487                  Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   305, at P4211,
                            Biermann;                                                                                                                                                              8393-1, at 35,
85   Janis; John   Thomas   Cullinan    Thomas     Francis    Cullinan       Unknown         Joan         McConnell   Cullinan                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                  Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
86                                      Mary Ann              Curatolo       Unknown         Robert                   Curatolo                   United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 1914       Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
87                                      Louis                 Curioli        Unknown         Paul         Dario       Curioli                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2939       Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 3050,
                                                                                                                                                                                                   8393-1, at 80,
88                                      B.         M.         D.             United States   Thomas       Francis     Dowd                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                  Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   432, at
                                                                                                                                                                                                   P4829,P4830,
                                                                                                                                                                                                   8393-1, at 384,
89                                      C.                    D.             Unknown         Francis                  Deming                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                  Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
                                                                                                                                                                                                   at 887, 8466-1, at
90                                      C.                    D.             Unknown         Vita                     Marino                     United States 9/11/01   NY (WTC)     03-cv-9849   1, 8487               Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 3050,
                                                                                                                                                                                                   8393-1, at 81,
91                                      H.         A.         D.             United States   Thomas       Francis     Dowd                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                  Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 1929,
                                                                                                                                                                                                   8393-1, at 13,
92                                      J.         M.         D.             Unknown         Clinton                  Davis             Sr.      United States 9/11/01   NY (Other)   03-cv-9849   8487                  Child     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                   1:03-md-01570,
                                                                                                                                                                                                   3477, 950; 4311,
                                                                                                                                                                                                   Exh. A pg. 9, 8393-
93                                      J.                    D.             United States   Michael      D.          Diehl                      United States 9/11/01   NY (WTC)     03-cv-9849   1, at 55, 8487        Child     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                   1:02-cv-01616-JR,
                                                                                                                                                                                                   26, 29, 3017;
94                                      J.                    D.             Mexico          Michael      D.          Diehl                      United States 9/11/01   NY (WTC)     03-cv-9849   4311, Exh. A pg. 9    Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
                                                                                                                                                                                                   at 887, 8466-1, at
95                                      M.                    D.             Unknown         Vita                     Marino                     United States 9/11/01   NY (WTC)     03-cv-9849   1, 8487               Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   432, at P4831,
                                                                                                                                                                         VA                        8393-1, at 69,
96                                      R.         L.         D.             Unknown         Robert       E.          Dolan             Jr.      United States 9/11/01   (Pentagon)   03-cv-9849   8487                  Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   432, at P4831,
                                                                                                                                                                         VA                        8393-1, at 69,
97                                      R.         E.         D.             Unknown         Robert       E.          Dolan             Jr.      United States 9/11/01   (Pentagon)   03-cv-9849   8487                  Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   26, 29, at 3050,
                                                                                                                                                                                                   8393-1, at 81,
98                                      T.         J.         D.             United States   Thomas       Francis     Dowd                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                  Child     $   8,500,000.00 $    25,500,000.00




                                                                                                                                  Page 4 of 18
                                                                Case 1:03-md-01570-GBD-SN Document 9550-3 Filed 01/19/24 Page 5 of 18
                                                                                                                  EXHIBIT B-2
                                                                                             SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                                                                                                                                                                                            1:03-md-01570,
99                         Sandra                 Dahl                Unknown         Jason        M.        Dahl                         United States 9/11/01   PA (UA93)    03-cv-9849   432, at P5336        Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            155, at P2868,
                                                                                                                                                                                            8393-1, at 822,
100                        Christopher   Manuel   DaMota              United States   Manuel       John      DaMota                       Portugal     9/11/01    NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 1,
101                        Jennifer               D'Auria             Unknown         Joseph       Ryan      Allen                        United States 9/11/01   NY (WTC)     03-cv-9849   at 39                Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                  VA                        1:02-cv-01616,
102                        Norris                 Davis               United States   Ada          M.        Davis                        United States 9/11/01   (Pentagon)   03-cv-9849   432, at P4813        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                  VA                        1:02-cv-01616,
103                        William       M.       Davis               Unknown         Ada          M.        Davis                        United States 9/11/01   (Pentagon)   03-cv-9849   432, at P4814        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616,
104                        Aurora                 de la Torre         United States   Azucena                de la Torre                  Unknown      9/11/01    NY (WTC)     03-cv-9849   305, at P4216        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
105                        Paul                   DeAngelis           Unknown         Robert       J.        DeAngelis           Jr.      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3671        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616,
106                        Elizabeta              Dedvukaj            Unknown         Simon        Marash    Dedvukaj                     United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2870        Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
107                        Craig         D.       Deming              Unknown         Francis                Deming                       United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4827        Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
108                        Edward                 DeSimone      Jr.   Unknown         Edward                 DeSimone            III      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1947      Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
109                        Arcelia                Diaz                Unknown         Judith       Berquis   Diaz-Sierra                  United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1953      Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 3,
110                        Edrick                 Dillard             Unknown         Eddie                  Dillard                      United States 9/11/01   VA (AA77)    03-cv-9849   at 1073              Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616, 1,
                                                                                                                                                                                            at 887, 5284-1, at
111                        Jonathan      Karel    Dodge               Unknown         Vita                   Marino                       United States 9/11/01   NY (WTC)     03-cv-9849   7, 5296              Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            432, at P4831,
                                                                                                                                                                  VA                        8393-1, at 69,
112                        Lisa          T.       Dolan               Unknown         Robert       E.        Dolan               Jr.      United States 9/11/01   (Pentagon)   03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            232, at P3676,
                                                                                                                                                                                            8393-1, at 30,
113   Patrice   Kelleher   James         T.       Donovan             United States   Jacqueline             Donovan                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
114                        James                  Donovan       Jr.   Unknown         Jacqueline             Donovan                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3677        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            232, at P3680,
                                                                                                                                                                                            8393-1, at 30,
115                        Marion        Elaine   Donovan             Unknown         Jacqueline             Donovan                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            26, 29, at 3050,
                                                                                                                                                                                            8393-1, at 80,
116                        Kerri         Ann      Dowd                Unknown         Thomas       Francis   Dowd                         United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
117                        Ryan          W.       Duffy               Unknown         Thomas       W.        Duffy                        United States 9/11/01   NY (WTC)     03-cv-9849   305, at AP253        Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
118                        Thomas        John     Duffy               Unknown         Gerard       J.        Duffy                        United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3069      Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616,
119                        Molly                  Dune                Unknown         Harvey       L.        Harrell                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3392      Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616,
120                        Rupert                 Eales-White         Unknown         Gavin                  Cushny                       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P4053        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                            1:02-cv-01616, 1,
121                        Rose                   Esposito            Unknown         Michael                Esposito                     United States 9/11/01   NY (Other)   03-cv-9849   at 203               Parent    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            155, at P2890,
122                        Jean          A.       Etzold              Unknown         Barbara                Etzold                       United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 4, 8487   Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            155, at P2898,
                                                                                                                                                                                            8393-1, at 81,
123                        A.                     F.                  Unknown         Thomas       Joseph    Fisher                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            26, 29, at 3192,
124                        A.            R.       F.                  Unknown         Robert       Joseph    Foti                         United States 9/11/01   NY (Other)   03-cv-9849   8466-1, at 2, 8487   Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                            155, at P2898,
                                                                                                                                                                                            8393-1, at 81,
125                        D.                     F.                  Unknown         Thomas       Joseph    Fisher                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00




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                                                                                                             EXHIBIT B-2
                                                                                        SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                                                                                                                                                                                          1:03-cv-9849,
                                                                                                                                                                                          HAND FILED, at
                                                                                                                                                                                          P5051, 8393-1, at
126                       R.         A.           F.                United States   Terrence      Patrick    Farrell                    United States 9/11/01   NY (Other)   03-cv-9849   80, 8487             Child     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                          26, 29, at 3192,
127                       R.         J.           F.                United States   Robert        Joseph     Foti                       United States 9/11/01   NY (Other)   03-cv-9849   8466-1, at 2, 8487   Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                          1:03-cv-9849,
                                                                                                                                                                                          HAND FILED, at
                                                                                                                                                                                          P5051, 8393-1, at
128                       T.         J.           F.                United States   Terrence      Patrick    Farrell                    United States 9/11/01   NY (Other)   03-cv-9849   80, 8487             Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                          1:03-cv-9849,
                                                                                                                                                                                          HAND FILED, at
                                                                                                                                                                                          P5051, 8393-1, at
129                       Helenora   M.           Farrell           United States   Terrence      Patrick    Farrell                    United States 9/11/01   NY (Other)   03-cv-9849   80, 8487             Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                          232, at P3685,
                                                                                                                                                                                          8393-1, at 38,
130                       James      F.           Farrell           Unknown         John          G.         Farrell                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                          1:02-cv-01616,
131                       Marie      A.           Farrell           Unknown         John          G.         Farrell                    United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3686        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                          305, at P4269,
                                                                                                                                                                                          8393-1, at 72,
132                       Janet                   Fazio             Unknown         Ronald        C.         Fazio             Sr.      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                          1:02-cv-01616,
133                       Lauren     Marie        Fazio             Unknown         Ronald        C.         Fazio             Sr.      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4272        Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                          1:02-cv-01616,
134                       Robert                  Fazio             Unknown         Ronald        C.         Fazio             Sr.      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4270        Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                          1:02-cv-01616,
135                       Ronald     C.           Fazio       Jr.   Unknown         Ronald        C.         Fazio             Sr.      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4271        Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                          1:02-cv-01616,
136                       Gae                     Ferruolo          Unknown         Jane          Marie      Orth                       United States 9/11/01   NY (AA11)    03-cv-9849   26, 29, at 4095      Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                          1:02-cv-01616,
137                       Madeline   F.           Fiore             Unknown         Michael       Curtis     Fiore                      United States 9/11/01   NY (Other)   03-cv-9849   232, at P3690        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                          1:03-cv-09849,
                                                                                                                                                                                          842, at 2; 8679-1,
138                       Louisa     Huntington   Fisher            United States   Bennett       Lawson     Fisher                     United States 9/11/01   NY (WTC)     03-cv-9849   at 121, 8696         Child     $   8,500,000.00 $    25,500,000.00
                                                                                    Bennett       Lawson     Fisher                                             NY (WTC)                  8679-1, at 121,
139                       Louisa     Huntington   Fisher            United States                                                       United States 9/11/01                03-cv-9849   8696                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                          232, at AP240,
                                                                                                                                                                                          8393-1, at 6,
                                                                                                                                                                                          8487, 5284-1, at
140                       Susan      Huntington   Fisher            United States   Bennett       Lawson     Fisher                     United States 9/11/01   NY (WTC)     03-cv-9849   5, 5296              Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                          26, 29, at 2103,
                                                                                                                                                                                          8397-1, at 10,
141   Edward   Flanders   Patricia   E.           Flanders          United States   Vincent       Dominick   Kane              Jr.      United States 9/11/01   NY (Other)   03-cv-9849   8433                 Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                          1:02-cv-01616,
142                       Mariela                 Flores            Unknown         Angel                    Perez             Jr.      United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4923        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                          1:02-cv-01616,
143                       Lila May   Walkden      Flounders         Unknown         Joseph        W.         Flounders                  United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3179      Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                          1:02-cv-01616,
144                       Michael                 Fodor             Unknown         Michael       N.         Fodor                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 1971      Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                          1:03-cv-9849,
                                                                                                             Forbes-                                                                      HAND FILED, at
145                       Dunston                 Forbes            Unknown         Del Rose                 Cheatham                   United States 9/11/01   NY (WTC)     03-cv-9849   P5056                Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                          1:02-cv-01616, 3,
                                                                                                                                                                                          at 1818, 5284-1,
146                       Tylia                   Furgal            Unknown         Swede         Joseph     Chevalier                  United States 9/11/01   NY (WTC)     03-cv-9849   at 2, 5296           Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                          232, at P3699,
                                                                                                                                                                                          8393-1, at 11,
147                       A.         H.           G.                Unknown         Christopher   S.         Gardner                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                          26, 29, at 4818,
                                                                                                                                                                                          8393-1, at 33,
148                       A.         C.           G.                United States   Jeffrey                  Giordano                   United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                          305, at P4303,
                                                                                                                                                                                          8393-1, at 40,
149                       A.         J.           G.                United States   Jose          Antonio    Guadalupe                  United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00




                                                                                                                         Page 6 of 18
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                                                                                                                   EXHIBIT B-2
                                                                                              SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               232, at P3699,
                                                                                                                                                                                               8393-1, at 11,
150                           C.          L.         G.                   Unknown         Christopher   S.        Gardner                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               232, at AP246,
                                                                                                                                                                                               8393-1, at 12,
151                           D.          M.         G.                   United States   Claude        Michael   Gann                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               232, at AP246,
                                                                                                                                                                                               8393-1, at 12,
152                           E.          C.         G.                   United States   Claude        Michael   Gann                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616, 3,
                                                                                                                                                                                               at 1163, 8393-1,
153                           E.                     G.                   Unknown         James                   Giberson                   United States 9/11/01   NY (Other)   03-cv-9849   at 31, 8487          Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               232, at AP246,
                                                                                                                                                                                               8393-1, at 12,
154                           K.                     G.                   Unknown         Claude        Michael   Gann                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616, 3,
                                                                                                                                                                                               at 1163, 8393-1,
155                           K.                     G.                   Unknown         James                   Giberson                   United States 9/11/01   NY (Other)   03-cv-9849   at 31, 8487          Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               26, 29, at 4818,
                                                                                                                                                                                               8393-1, at 33,
156                           N.          J.         G.                   United States   Jeffrey                 Giordano                   United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616, 3,
                                                                                                                                                                                               at 1163, 8393-1,
157                           S.                     G.                   Unknown         James                   Giberson                   United States 9/11/01   NY (Other)   03-cv-9849   at 31, 8487          Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:03-md-01570,
158                           S.                     G.                   Unknown         Gregory       E.        Rodriguez                  United States 9/11/01   NY (WTC)     03-cv-9849   3477, at 3120        Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               232, at P4059,
                                                                                                                                                                                               8393-1, at 14,
159                           Regina      E.         Gallagher            Unknown         Daniel        James     Gallagher                  United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               232, at P3699,
                                                                                                                                                                                               8393-1, at 11,
160                           Susan       L.         Gardner              Unknown         Christopher   S.        Gardner                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                               1:03md-01570,
                                                                                                                                                                                               3477, at 1262;
                                                                                                                                                                                               8679-1, at 149,
161                           Alice                  Gary                 Unknown         Bruce         Henry     Gary                       United States 9/11/01   NY (Other)   03-cv-9849   8696                 Parent    $   8,500,000.00 $    25,500,000.00
                                                                                          Bruce         Henry     Gary                                               NY (Other)                8679-1, at 150,
162                           Alice                  Gary                 Unknown                                                            United States 9/11/01                03-cv-9849   8696                 Parent    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               155, at P3023,
163                           Luis                   Gaston               Unknown         Betsy                   Martinez                   United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 6, 8487   Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               232, at P4061,
                                                                                                                                                                                               8393-1, at 79,
164                           Maurizio    D.         Gazzani              Unknown         Terence       D.        Gazzani                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               232, at P4062,
                                                                                                                                                                                               8393-1, at 79,
165                           Tracy       M.         Gazzani              Unknown         Terence       D.        Gazzani                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
166                           Pamela      Woodwell   Geerdes              Unknown         Richard       H.        Woodwell                   United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2434      Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616, 3,
167   Barbara   A.   Geidel   Ralph       William    Geidel         Sr.   Unknown         Gary          Paul      Geidel                     United States 9/11/01   NY (Other)   03-cv-9849   at 1157              Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616, 3,
168                           Desiree     A.         Gerasimovich         Unknown         Pamela                  Boyce                      United States 9/11/01   NY (WTC)     03-cv-9849   at 931               Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                               1:02-cv-01616,
169   Philip    G.   Geyer    Jo Ann      S.         Geyer                Unknown         James         G.        Geyer                      United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2598         Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616, 3,
                                                                                                                                                                                               at 1163, 8393-1,
170                           Susan                  Giberson             Unknown         James                   Giberson                   United States 9/11/01   NY (Other)   03-cv-9849   at 31, 8487          Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                               1:03-md-01570,
171                           Stephanie              Giglio               United States   Robert                  Levine                     United States 9/11/01   NY (WTC)     03-cv-9849   3477, at 2067        Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616, 1,
172                           Eleanor                Gillette             Unknown         Evan                    Gillette                   United States 9/11/01   NY (WTC)     03-cv-9849   at 241               Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                               26, 29, at 4818,
                                                                                                                                                                                               8393-1, at 33,
173                           Marie       Scotto     Giordano             United States   Jeffrey                 Giordano                   United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00



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                                                                                           EXHIBIT B-2
                                                                      SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                                                                                                                                                                       1:02-cv-01616,
174   Gina       Laura       Giovanniello         United States   Doreen        J.        Angrisani                  United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4591        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                       1:02-cv-01616,
175   Alicia     Marie       Govia                Unknown         Wade          Brian     Green                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 1999      Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                       232, at P3706,
                                                                                                                                                                       8393-1, at 313,
176   James      Thomas      Gregory              United States   Donald        H.        Gregory                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616, 1,
177   Mary       E.          Griffin              Unknown         Everett       M.        Proctor           III      United States 9/11/01   NY (WTC)     03-cv-9849   at 470               Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                       232, at P3899,
                                                                                                                                                                       8393-1, at 38,
178   Laura      A.          Grygotis             Unknown         John          M.        Pocher                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                       1:02-cv-01616,
179   Fushan                 Gu                   Unknown         Liming                  Gu                         United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2917        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
180   Yu         Zhou        Gu                   Unknown         Liming                  Gu                         United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2918        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                       305, at P4303,
                                                                                                                                                                       8393-1, at 40,
181   Elise      S.          Guadalupe            Unknown         Jose          Antonio   Guadalupe                  United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                       155, at P2922,
                                                                                                                                                                       8393-1, at 66,
182   Thomas                 Guza                 Unknown         Philip        T.        Guza                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                       313, at P4658,
                                                                                                                                                                       8393-1, at 82,
183   C.                     H.                   Unknown         Timothy                 Higgins                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                       313, at P4658,
                                                                                                                                                                       8393-1, at 82,
184   C.                     H.                   Unknown         Timothy                 Higgins                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                       313, at P4658,
                                                                                                                                                                       8393-1, at 82,
185   C.                     H.                   Unknown         Timothy                 Higgins                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616, 1,
                                                                                                                                                                       at 784, 8466-1, at
186   M.         L.          H.                   Unknown         Edward        R.        Hennessy          Jr.      United States 9/11/01   NY (AA11)    03-cv-9849   2, 8487              Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616, 1,
                                                                                                                                                                       at 784, 8466-1, at
187   R.         W.          H.                   Unknown         Edward        R.        Hennessy          Jr.      United States 9/11/01   NY (AA11)    03-cv-9849   2, 8487              Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
188   George     Vassilion   Haramis              United States   Vassilios     G.        Haramis                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3367      Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
189   Gloria                 Haramis              United States   Vassilios     G.        Haramis                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3366      Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                       1:02-cv-01616,
190   Julia      K.          Haramis              United States   Vassilios     G.        Haramis                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3368      Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                       313, at P4655,
                                                                                                                                                                       8393-1, at 27,
191   Judith     Kay         Hardacre             United States   Gerald                  Hardacre                   Unknown      9/11/01    NY (UA175)   03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                       1:02-cv-01616,
192   David      W.          Harrell              Unknown         Harvey        L.        Harrell                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3391      Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                       1:02-cv-01616,
193   Harvey     L.          Harrell        Sr.   Unknown         Harvey        L.        Harrell                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3389      Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
194   Miriam     F.          Harrell              Unknown         Harvey        L.        Harrell                    United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3390      Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
195   Robert                 Harris         Jr.   Unknown         Aisha         Ann       Harris                     United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4862        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
196   Kathryn    Ward        Hazel                Unknown         Stephen       Gordon    Ward                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4664      Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                       1:03-cv-9849,
                                                                                                                                                                       HAND FILED, at
                                                                                                                                                                       P5018, 8393-1, at
197   Alison     Gail        Henderson            United States   Christopher   Sean      Caton                      United States 9/11/01   NY (WTC)     03-cv-9849   11, 8487             Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                       1:02-cv-01616,
198   Allyson                Hepburn              Unknown         Robert        Allan     Hepburn                    United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2630         Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
199   Jennifer               Hepburn              Unknown         Robert        Allan     Hepburn                    United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2631         Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                       1:02-cv-01616,
                                                                                                                                                                       77, at P2632,
                                                                                                                                                                       8393-1, at 68,
200   Theresa    Lynn        Hepburn              Unknown         Robert        Allan     Hepburn                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00



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                                                                         SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                                                                                                                                                                           1:02-cv-01616,
201   Gonzalo    A.         Hidalgo               United States   Cora         Hidalgo       Holland                     United States 9/11/01   NY (AA11)    03-cv-9849   155, at P2936        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                           313, at P4658,
                                                                                                                                                                           8393-1, at 82,
202   Caren                 Higgins               Unknown         Timothy                    Higgins                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                           1:02-cv-01616,
203   Todd       E.H.       Higley                Unknown         Robert       Dale Warren   Higley             II       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3449      Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                           305, at P4321,
                                                                                                                                                                           8393-1, at 31,
204   Sheila     C.         Hobin                 United States   James        J.            Hobin                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                           1:02-cv-01616, 1,
205   Gail                  Hoffmann              Unknown         Michele      Lee           Hoffmann                    United States 9/11/01   NY (WTC)     03-cv-9849   at 283               Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616, 1,
206   Gail                  Hoffmann              Unknown         Frederick    Joseph        Hoffmann                    United States 9/11/01   NY (WTC)     03-cv-9849   at 280               Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
207   Beaulah               Holmes                Unknown         Elizabeth                  Holmes                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2052      Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                           305, at P4331,
                                                                                                                                                                           8393-1, at 29,
208   Karen      L.         Homer                 Unknown         Herbert      Wilson        Homer                       United States 9/11/01   NY (UA175)   03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                           1:02-cv-01616,
209   Stephen    H.         Homer                 Unknown         Herbert      Wilson        Homer                       United States 9/11/01   NY (UA175)   03-cv-9849   232, at P3723        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           1:02-cv-01616,
210   William    T.         Homer                 Unknown         Herbert      Wilson        Homer                       United States 9/11/01   NY (UA175)   03-cv-9849   232, at P3724        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
211   Winifred   M.         Homer                 Unknown         Herbert      Wilson        Homer                       United States 9/11/01   NY (UA175)   03-cv-9849   232, at P3725        Parent    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                           1:03-md-01570,
212   James      Lawrence   Hopper                United States   James        P.            Hopper                      United States 9/11/01   NY (WTC)     03-cv-9849   9528-1, at 1, 9532   Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                           26, 29, at 3469,
                                                                                                                                                                           8393-1, at 55,
213   Emily                 Howell                Unknown         Michael      C.            Howell                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                           1:02-cv-01616,
214   Kevin      M.         Howell                Unknown         Michael      C.            Howell                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3470      Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
215   Agatina               Iaci                  Unknown         Jane         Marie         Orth                        United States 9/11/01   NY (AA11)    03-cv-9849   26, 29, at 4094      Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
216   Alice                 Ill                   Unknown         Frederick    J.            Ill                Jr.      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3490      Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                           305, at P4335,
                                                                                                                                                                           8393-1, at 24,
217   Lauri      T.         Isbrandtsen           United States   Erik         Hans          Isbrandtsen                 United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                           305, at P4106,
                                                                                                                                                                           8393-1, at 22,
218   M.                    J.                    Unknown         Edward       L.            Allegretto                  United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                           232, at P3735,
                                                                                                                                                                           8393-1, at 85,
219   Barry                 Jablonski             Unknown         Virginia     May           Jablonski                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                           1:02-CV-01616,
                                                                                                                                                                           26, 29, at 2605,
                                                                                                                                                                           8393-1, at 27,
220   Gerard                Jean-Baptiste         Unknown         Gerard                     Baptiste                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616, 1,
221   Stephen               Jezycki         Sr.   Unknown         Margaret                   Alario                      United States 9/11/01   NY (WTC)     03-cv-9849   at 32                Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616, 3,
222   John       E.         Johnson               Unknown         Juanita                    Lee                         United States 9/11/01   NY (WTC)     03-cv-9849   at 1342              Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           1:02-cv-01616,
223   Harry      T.         Jones           IV    Unknown         Allison      H.            Jones                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3508      Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                           1:03-cv-9849,
                                                                                                                                                                           HAND FILED, at
224   John       C.         Jordan                United States   Andrew       B.            Jordan                      Unknown      9/11/01    NY (Other)   03-cv-9849   P5100                Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           1:02-cv-01616,
225   Blaise                Joudzevich            Unknown         Joan         McConnell     Cullinan                    United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4212        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           1:02-cv-01616,
226   Miriam                Juarbe                Unknown         Angel        L.            Juarbe             Jr.      United States 9/11/01   NY (Other)   03-cv-9849   305, at P4345        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                           232, at P3755,
                                                                                                                                                                           8393-1, at 25,
227   C.         A.         K.                    United States   Frank        J.            Koestner                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00




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                                                                                     EXHIBIT B-2
                                                                SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                             26, 29, at 3517,
                                                                                                                                                             8393-1, at 17,
228   E.        L.        K.              United States   Deborah     H.        Kaplan                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                             26, 29, at 3517,
                                                                                                                                                             8393-1, at 17,
229   J.        I.        K.              United States   Deborah     H.        Kaplan                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                             26, 29, at 3517,
                                                                                                                                                             8393-1, at 17,
230   M.        S.        K.              United States   Deborah     H.        Kaplan                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                             26, 29, at 3517,
                                                                                                                                                             8393-1, at 17,
231   S.        A.        K.              United States   Deborah     H.        Kaplan                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                             1:02-cv-01616,
232   Harold    T.        Kaplan          Unknown         Deborah     H.        Kaplan                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3517      Spouse    $   12,500,000.00 $   37,500,000.00

                                                                                                                                                             1:03-cv-9849,
                                                                                                                                                             HAND FILED, at
                                                                                                                                                             P5108, 1:02-cv-
                                                                                                                                                             01616, 1, at 363,
233   Laureen             Kasper          Unknown         Charles     L.        Kasper                     United States 9/11/01   NY (Other)   03-cv-9849   8393-1, at 9, 8487   Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                             1:02-cv-01616,
234   Richard   Matthew   Keane           United States   Richard     Michael   Keane                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4353        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                             1:02-cv-01616,
235   Robert    F.        Keane           Unknown         Richard     Michael   Keane                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4355        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                             1:02-cv-01616,
236   Leo       R.        Keene      II   Unknown         Leo         Russell   Keene            III       United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2966        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                             1:02-cv-01616, 3,
                                                                                                                                                             at 1292, 8393-1,
237   Carolyn             Kelly           Unknown         Richard     J.        Kelly            Jr.       United States 9/11/01   NY (Other)   03-cv-9849   at 68, 8487          Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                             1:02-cv-01616,
238   Lisa                Kennedy         United States   Michael     Ernest    Tinley                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4553        Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                             1:03-cv-9849,
                                                                                                                                                             HAND FILED, at
                                                                                                                                                             P5117, 8393-1, at
239   Hedi      N.        Kershaw         Unknown         Ralph       Francis   Kershaw                    United States 9/11/01   NY (UA175)   03-cv-9849   66, 8487             Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                             1:18-cv-11582, 1,
                                                                                                                                                             at 12; 8679-1, at
240   John      David     Ketler          United States   Ruth        Ellen     Ketler                     United States 9/11/01   NY (WTC)     03-cv-9849   227, 8696            Sibling   $   4,250,000.00 $    12,750,000.00
                                                          Ruth        Ellen     Ketler                                             NY (WTC)                  8679-1, at 227,
241   John      David     Ketler          United States                                                    United States 9/11/01                03-cv-9849   8696                 Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                             1:02-cv-01616,
242   Ruth      S.        Koch            Unknown         Leslie      Ann       Whittington                United States 9/11/01   VA (AA77)    03-cv-9849   232, at P4024        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                             1:03-cv-9849,
                                                                                                                                                             HAND FILED, at
243   Maria               Koestner        Unknown         Frank       J.        Koestner                   United States 9/11/01   NY (WTC)     03-cv-9849   P5127                Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                             1:02-CV-01616,
244   Frima               Kogan           Unknown         Inna                  Basin                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2633      Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                             1:02-cv-01616,
245   Yuau                Ku              China           Liming                Gu                         United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2919        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                             1:02-cv-01616,
246   Lois      H.        Kumpel          Unknown         Kenneth     B.        Kumpel                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3573      Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                             1:02-cv-01616,
247   Kristen             Kuveikis        Unknown         Thomas      J.        Kuveikis                   United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 3575      Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                             313, at P4685,
                                                                                                                                                             8393-1, at 38,
248   C.                  L.              Unknown         John        J.        Lennon           Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                             1:03-cv-9849,
                                                                                                                                                             HAND FILED, at
                                                                                                                                                             P5150, 8393-1, at
249   D.                  L.              Unknown         Nickie                Lindo                      United States 9/11/01   NY (WTC)     03-cv-9849   61, 8487             Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                             26, 29, at 2458,
                                                                                                                                                             8393-1, at 78,
250   E.        S.        L.              United States   Stuart      Seid      Louis                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                             432, at P4883,
                                                                                                                                                             8393-1, at 41,
251   G.                  L.              Unknown         Joseph      A.        Lenihan                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                             1:02-cv-01616,
252   J.                  L.              Unknown         Joseph      A.        Lenihan                    United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4883        Child     $   8,500,000.00 $    25,500,000.00




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                                                                                        EXHIBIT B-2
                                                                   SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                26, 29, at 3639,
                                                                                                                                                                8393-1, at 13,
253   J.           C.        L.             Unknown         Craig        Damian    Lilore                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                313, at P4685,
                                                                                                                                                                8393-1, at 38,
254   K.                     L.             Unknown         John         J.        Lennon           Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                26, 29, at 2458,
                                                                                                                                                                8393-1, at 78,
255   K.           L.        L.             United States   Stuart       Seid      Louis                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                313, at P4684,
                                                                                                                                                                8393-1, at 23,
256   L.           E.        L.             United States   Eric         Andrew    Lehrfeld                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                1:02-cv-01616,
257   M.                     L.             Unknown         Joseph       A.        Lenihan                    United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4883        Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                1:03-cv-9849,
                                                                                                                                                                HAND FILED, at
258   Samuel       J.        Laforte        Unknown         Michael                LaForte                    United States 9/11/01   NY (WTC)     03-cv-9849   P5139                Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                432, at P4876,
                                                                                                                                                                8393-1, at 54,
259   Joseph       P.        Langley        United States   Mary         Lou       Langley                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                1:03-cv-9849,
                                                                                                                                                                HAND FILED, at
260   Julianna     M.        Lanzer         Unknown         Frank        J.        Koestner                   United States 9/11/01   NY (WTC)     03-cv-9849   P5128                Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                1:02-cv-01616, 1,
                                                                                                                                                                at 338, 8393-1, at
261   Edward       N.        Lee            Unknown         Juanita                Lee                        United States 9/11/01   NY (WTC)     03-cv-9849   44, 8487             Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                1:02-cv-01616, 1,
                                                                                                                                                                at 340, 8393-1, at
262   Johnny                 Lee            Unknown         Lorraine               Lee                        United States 9/11/01   NY (WTC)     03-cv-9849   50, 8487             Spouse    $   12,500,000.00 $   37,500,000.00

                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                305, at P4383,
263   Jungmi       Suh       Lee            United States   Dong         Chul      Lee                        Korea        9/11/01    VA (AA77)    03-cv-9849   8393-1, at 20, 848   Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                313, at P4684,
                                                                                                                                                                8393-1, at 23,
264   Hayley       Natalie   Lehrfeld       Unknown         Eric         Andrew    Lehrfeld                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                1:02-cv-01616,
265   John                   Lennon         Unknown         John         J.        Lennon           Jr.       United States 9/11/01   NY (Other)   03-cv-9849   313, at P4686        Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                1:02-cv-01616,
266   Melissa                Lennon         Unknown         John         J.        Lennon           Jr.       United States 9/11/01   NY (Other)   03-cv-9849   313, at P4687        Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                313, at P4685,
                                                                                                                                                                8393-1, at 38,
267   Patricia               Lennon         Unknown         John         J.        Lennon           Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                155, at P2997,
                                                                                                                                                                8393-1, at 37,
268   Dennis       J.        Levi           Unknown         John         Dennis    Levi                       United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                1:03-cv-9849,
                                                                                                                                                                HAND FILED, at
                                                                                                                                                                P5150, 8393-1, at
269   Deryck       D.        Lindo          Unknown         Nickie                 Lindo                      United States 9/11/01   NY (WTC)     03-cv-9849   61, 8487             Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                1:03-cv-9849,
                                                                                                                                                                HAND FILED, at
270   Duryel                 Lindo          Unknown         Nickie                 Lindo                      United States 9/11/01   NY (WTC)     03-cv-9849   P5151                Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                1:02-cv-01616, 1,
                                                                                                                                                                at 346, 8393-1, at
271   Eugenia      Reyes     Llanes         Unknown         George       Andrew    Llanes                     United States 9/11/01   NY (WTC)     03-cv-9849   27, 8487             Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                1:02-cv-01616,
272   Jorge                  Llanes         Unknown         George       Andrew    Llanes                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3790        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                      VA                        1:02-cv-01616, 3,
273   David        B.        Long           Unknown         Stephen      V.        Long                       United States 9/11/01   (Pentagon)   03-cv-9849   at 1362              Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                1:02-cv-01616,
274   Sharon                 Louis          United States   Stuart       Seid      Louis                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2458      Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                1:02-cv-01616,
275   Eileen       Duffell   Lugano         United States   Sean         Thomas    Lugano                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3665      Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                1:02-cv-01616,
                                                                                                                                                                232, at P3811,
                                                                                                                                      VA                        8393-1, at 79,
276   Jacqueline   E.        Lynch          United States   Terence      M.        Lynch                      United States 9/11/01   (Pentagon)   03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00



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                                                                 SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                                                                                                                                                               1:02-cv-01616,
277   A.                      M.             Unknown         Abigail    Cales     Medina                     United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4890        Child     $   8,500,000.00 $   25,500,000.00
                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                               26, 29, at 3933,
                                                                                                                                                               8393-1, at 18,
278   A.         C.           M.             Unknown         Dennis               Mojica                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     $   8,500,000.00 $   25,500,000.00
                                                                                                                                                               1:02-cv-01616, 3,
                                                                                                                                                               at 1465, 8393-1,
279   B.                      M.             United States   Benjamin             Millman                    United States 9/11/01   NY (WTC)     03-cv-9849   at 5, 8487           Child     $   8,500,000.00 $   25,500,000.00
                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                               26, 29, at 3751,
                                                                                                                                                               8393-1, at 64,
280   D.         N.           M.             United States   Paul       Richard   Martini                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     $   8,500,000.00 $   25,500,000.00

                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                               26, 29, at 3705,
281   D.         M.           M.             Unknown         William    James     Mahoney          Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8466-1, at 1, 8487   Child     $   8,500,000.00 $   25,500,000.00
                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                               305, at P4436,
                                                                                                                                                               8393-1, at 34,
282   H.         Q.           M.             China           Jeffrey    P.        Mladenik                   United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Child     $   8,500,000.00 $   25,500,000.00

                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                               26, 29, at 3705,
283   J.         J.           M.             Unknown         William    James     Mahoney          Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8466-1, at 1, 8487   Child     $   8,500,000.00 $   25,500,000.00
                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                               432, at P4888,
                                                                                                                                                               8393-1, at 42,
284   J.         E.           M.             Unknown         Joseph     Edward    Maloney                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     $   8,500,000.00 $   25,500,000.00
                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                               305, at P4404,
                                                                                                                                                               8393-1, at 37,
285   J.         M.           M.             Unknown         John       Daniel    Marshall                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $   25,500,000.00
                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                               432, at P4888,
                                                                                                                                                               8393-1, at 42,
286   M.         K.           M.             United States   Joseph     Edward    Maloney                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     $   8,500,000.00 $   25,500,000.00
                                                                                                                                                               1:02-cv-01616, 3,
                                                                                                                                                               at 1465, 8393-1,
287   M.                      M.             United States   Benjamin             Millman                    United States 9/11/01   NY (WTC)     03-cv-9849   at 5, 8487           Child     $   8,500,000.00 $   25,500,000.00
                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                               26, 29, at 3936,
                                                                                                                                                               8393-1, at 44,
288   M.         L.           M.             Unknown         Justin     John      Molisani         Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $   25,500,000.00
                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                               305, at P4404,
                                                                                                                                                               8393-1, at 37,
289   P.                      M.             Unknown         John       Daniel    Marshall                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $   25,500,000.00
                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                               305, at P4408,
                                                                                                                                                               8393-1, at 42,
290   R.                      M.             Unknown         Joseph               Mathai                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $   25,500,000.00

                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                               26, 29, at 3705,
291   S.         E.           M.             Unknown         William    James     Mahoney          Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8466-1, at 1, 8487   Child     $   8,500,000.00 $   25,500,000.00

                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                               26, 29, at 3705,
292   W.         J.           M.             Unknown         William    James     Mahoney          Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8466-1, at 1, 8487   Child     $   8,500,000.00 $   25,500,000.00
                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                               232, at P3813,
                                                                                                                                                               8393-1, at 69,
293   Kenneth    J.           Mace           Unknown         Robert     Francis   Mace                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Sibling   $   4,250,000.00 $   12,750,000.00

                                                                                                                                                               1:02-cv-01616,
                                                                                                             United                                            26, 29, at 2155,
294   Caileigh   Ward         Maddison       United States   Simon                Maddison                   Kingdom      9/11/01    NY (WTC)     03-cv-9849   8466-1, at 3, 8487   Child     $   8,500,000.00 $   25,500,000.00

                                                                                                                                                               1:02-cv-01616,
                                                                                                             United                                            26, 29, at 2155,
295   Kyle       Ridge        Maddison       United States   Simon                Maddison                   Kingdom      9/11/01    NY (WTC)     03-cv-9849   8466-1, at 3, 8487   Child     $   8,500,000.00 $   25,500,000.00

                                                                                                                                                               1:02-cv-01616,
                                                                                                             United                                            26, 29, at 2155,
296   Sydney     Marguerite   Maddison       United States   Simon                Maddison                   Kingdom      9/11/01    NY (WTC)     03-cv-9849   8466-1, at 3, 8487   Child     $   8,500,000.00 $   25,500,000.00



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                                                                                                                       EXHIBIT B-2
                                                                                                  SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   432, at P4888,
                                                                                                                                                                                                   8393-1, at 42,
297                                    Kathleen              Maloney          Unknown         Joseph      Edward      Maloney                    United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
                                                                                                                                                                                                   at 1403, 8393-1,
298                                    Ashley       Marie    Mannetta         United States   Debra       M.          Mannetta                   United States 9/11/01   NY (WTC)     03-cv-9849   at 275, 8487         Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
                                                                                                                                                                                                   at 1403, 8393-1,
299                                    Jessica      Ann      Mannetta         United States   Debra       M.          Mannetta                   United States 9/11/01   NY (WTC)     03-cv-9849   at 274, 8487         Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
300                                    Kenneth      R.       Mannetta         Unknown         Debra       M.          Mannetta                   United States 9/11/01   NY (WTC)     03-cv-9849   at 1403              Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
301                                    Jeanette     A.       Marshall         Unknown         John        Daniel      Marshall                   United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4405        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   305, at P4404,
                                                                                                                                                                                                   8393-1, at 37,
302                                    Lori         T.       Marshall         Unknown         John        Daniel      Marshall                   United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
303                                    Jenna        Tinley   Mather           United States   Michael     Ernest      Tinley                     United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4554        Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
304                                    Marguerite            Mattson          Unknown         Robert      D.          Mattson                    United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2661         Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
305                                    William      G.       Mattson          Unknown         Robert      D.          Mattson                    United States 9/11/01   NY (WTC)     03-cv-9849   77, at P2662         Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
                                                                                                                                                                                                   at 1435, 8397-1,
306   Vertistine   Beaman   Mbaya      Njue         W.       Mbaya            Unknown         Kaaria      William     Mbaya                      United States 9/11/01   NY (WTC)     03-cv-9849   at 18, 8433          Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
307                                    Everett      Joseph   McGarry          Unknown         Katherine   McGarry     Noack                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4028      Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 1,
308                                    Jennifer     Gadiel   McIntyre         Unknown         James       Andrew      Gadiel                     United States 9/11/01   NY (WTC)     03-cv-9849   at 229               Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616,
309   Patricia              McKenna    Agnes        Jane     McKenna          Unknown         Stephanie   Marie       McKenna                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3860      Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
310                                    Joseph                McWilliams       Unknown         Martin      Edward      McWilliams                 United States 9/11/01   NY (Other)   03-cv-9849   at 1443              Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
311                                    Mary                  McWilliams       United States   Martin      Edward      McWilliams                 United States 9/11/01   NY (Other)   03-cv-9849   at 1442              Parent    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   432, at P4890,
312                                    Eli                   Medina           United States   Abigail     Cales       Medina                     United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 1, 8487   Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
313                                    Enid                  Medina           Unknown         Abigail     Cales       Medina                     United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4891        Child     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   232, at P4075,
314                                    Barbara               Merdinger        Unknown         Alan                    Merdinger                  United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 1, 8487   Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   232, at P3847,
                                                                                                                                                                                                   8393-1, at 58,
315                                    Betty        Ann      Miller           Unknown         Michael     Matthew     Miller                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   232, at P3848,
                                                                                                                                                                                                   8393-1, at 59,
316                                    James        H.       Miller           Unknown         Michael     Matthew     Miller                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
317                                    Toby                  Millman          Unknown         Benjamin                Millman                    United States 9/11/01   NY (WTC)     03-cv-9849   at 1465              Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
318                                    Jodi         Ann      Molisani         Unknown         Justin      John        Molisani         Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 3936      Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                   1:03-md-01570,
                                                                                                                                                                                                   3477, at 2518;
                                                                                                                                                                                                   8679-1, at 328,
319                                    George       R.       Montesi          Unknown         Michael     G.          Montesi                    United States 9/11/01   NY (Other)   03-cv-9849   8696                 Parent    $   8,500,000.00 $    25,500,000.00
                                                                                              Michael     G.          Montesi                                            NY (Other)                8679-1, at 328,
320                                    George       R.       Montesi          Unknown                                                            United States 9/11/01                03-cv-9849   8696                 Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
321                                    Margaret     P.       Montesi          Unknown         Michael     G.          Montesi                    United States 9/11/01   NY (Other)   03-cv-9849   155, at P3035        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616, 3,
                                                                                                                                                                                                   at 1481, 8397-1,
322   Nancy        Jeanne   Mulligan   Thomas       John     Mulligan         United States   Peter       James       Mulligan                   United States 9/11/01   NY (WTC)     03-cv-9849   at 20, 8433          Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                   313, at P4698,
                                                                                                                                                                                                   8393-1, at 67,
323                                    M.           C.       N.               Unknown         Renee       Tetreault   Newell                     United States 9/11/01   NY (AA11)    03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00




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                                                                                                                                         EXHIBIT B-2
                                                                                                                    SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     77, at P2673,
                                                                                                                                                                                                                     8393-1, at 66,
324                                                  Zandra       Lena        Neblett           Unknown         Rayman        Marcus   Neblett                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
325   Carol           Ann          Niedermeyer       Alfonse                  Niedermeyer       United States   Alfonse       J.       Niedermeyer                 United States 9/11/01   NY (Other)   03-cv-9849   155, at P3052        Parent    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     26, 29, at 4098,
326                                                  J.                       O.                Unknown         Pablo                  Ortiz                       United States 9/11/01   NY (Other)   03-cv-9849   8466-1, at 3, 8487   Child     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     26, 29, at 4098,
327                                                  J.                       O.                Unknown         Pablo                  Ortiz                       United States 9/11/01   NY (Other)   03-cv-9849   8466-1, at 3, 8487   Child     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     26, 29, at 4069,
328                                                  T.                       O.                Unknown         Patrick       Joseph   O'Keefe                     United States 9/11/01   NY (Other)   03-cv-9849   8466-1, at 3, 8487   Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616, 1,
      Anna; Esther;                Ruess; Barbuto;                                                                                                                                                                   at 424, 8397-1, at
329   Blaise          M.; R.; J.   Ognibene          Antoinette   D.          Ognibene          Unknown         Philip        Paul     Ognibene                    United States 9/11/01   NY (WTC)     03-cv-9849   21, 8433             Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:03-md-01570,
330                                                  Blaise       J.          Ognibene          Unknown         Philip        Paul     Ognibene                    United States 9/11/01   NY (WTC)     03-cv-9849   3477, at 2673        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     26, 29, at 4069,
                                                                                                                                                                                                                     8393-1, at 62,
331                                                  Karen        Lisa        O'Keefe           Unknown         Patrick       Joseph   O'Keefe                     United States 9/11/01   NY (Other)   03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
332                                                  Conrad       S.          Olender           Unknown         Christine              Olender                     United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4915        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
333                                                  Lauren       J.          Osnato            Unknown         Karen         Helene   Schmidt                     United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2342      Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
334                                                  Stephen      V.          Ostrowski         United States   James         Robert   Ostrowski                   Unknown      9/11/01    NY (WTC)     03-cv-9849   26, 29, at 2243      Parent    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                     1:03-md-01570,
                                                                                                                                                                                                                     432, at P5331,
335                                                  A.           C.          P.                Unknown         James         C.       Cappers                     United States 9/11/01   NY (WTC)     03-cv-9849   8466-1, at 1, 8487   Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616, 1,
                                                                                                                                                                                                                     at 461, 8466-1, at
336                                                  A.                       P.                Unknown         Ludwig        John     Picarro                     United States 9/11/01   NY (WTC)     03-cv-9849   3, 8487              Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     26, 29, at 4185,
                                                                                                                                                                                                                     8393-1, at 16,
337                                                  C.           C.          P.                Unknown         David         L.       Pruim                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                     1:03-md-01570,
                                                                                                                                                                                                                     432, at P5331,
338                                                  J.           A.C.        P.                Unknown         James         C.       Cappers                     United States 9/11/01   NY (WTC)     03-cv-9849   8466-1, at 1, 8487   Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616, 1,
                                                                                                                                                                                                                     at 461, 8466-1, at
339                                                  M.                       P.                Unknown         Ludwig        John     Picarro                     United States 9/11/01   NY (WTC)     03-cv-9849   3, 8487              Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:03-md-01570,
340                                                  Ryan                     Pacheco           Unknown         Roland                 Pacheco                     United States 9/11/01   NY (WTC)     03-cv-9849   432, at P5423        Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
341                                                  Jonathan     S.          Packer            Unknown         Michael       B.       Packer                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3878        Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
342                                                  Marion       Rita        Paolo             Unknown         Loretta       A.       Vero                        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2414      Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                United                                                                                                               1:02-cv-01616,
343                                                  Manoj                    Parmar            Kingdom         Hashmukhrai   C.       Parmar                      United States 9/11/01   NY (WTC)     03-cv-9849   313, at AP269        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     1:03-cv-9849,
                                                                                                United                                                                                                               HAND FILED, at
344                                                  Revakuvar                Parmar            Kingdom         Hashmukhrai   C.       Parmar                      United States 9/11/01   NY (WTC)     03-cv-9849   AP924                Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
345                                                  Sandra                   Passananti        Unknown         Horace        Robert   Passananti                  United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3892        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                     305, at P4471,
                                                                                                                                                                                                                     8393-1, at 76,
346                                                  Bobbie       Catherine   Peak              Unknown         Stacey        Lynn     Peak                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
347                                                  Michael      R.          Peak              Unknown         Stacey        Lynn     Peak                        United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4473        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
348                                                  Phillip                  Peak              Unknown         Stacey        Lynn     Peak                        United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4472        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
349                                                  Toni                     Peak              Unknown         Stacey        Lynn     Peak                        United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4475        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                     1:02-cv-01616,
350                                                  Anne                     Pedicini          Unknown         Thomas                 Pedicini                    United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4479        Sibling   $   4,250,000.00 $    12,750,000.00



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                                                                       SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                                                                                                                                                                     1:03-md-01570,
                                                                                                                                                                     602, at P5497,
                                                                                                                                                                     8393-1, at 58,
351   Lynn         Ann        Pescherine         United States   Michael     John      Pescherine                  United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00

352   Ryan         Michael    Pescherine         United States   Michael     John      Pescherine                  United States 9/11/01   NY                                             Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616,
353   Norman                  Peterson           Unknown         Davin       N.        Peterson                    United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3897        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616,
354   Antimo                  Petti              United States   Philip      Scott     Petti                       United States 9/11/01   NY (Other)   03-cv-9849   305, at P4485        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616, 1,
355   Maureen                 Pickering          Unknown         Joann                 Tabeek                      United States 9/11/01   NY (WTC)     03-cv-9849   at 607               Sibling   $   4,250,000.00 $    12,750,000.00
                                                 United                                                                                                              1:02-cv-01616,
356   Anne         Margaret   Policelli          Kingdom         Ian         J.        Gray                        United States 9/11/01   VA (AA77)    03-cv-9849   432, at P4985        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                     1:02-cv-01616, 1,
357   Catherine    B.         Proctor            Unknown         Everett     M.        Proctor           III       United States 9/11/01   NY (WTC)     03-cv-9849   at 471               Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616, 1,
358   Everett                 Proctor      Jr.   Unknown         Everett     M.        Proctor           III       United States 9/11/01   NY (WTC)     03-cv-9849   at 469               Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                     26, 29, at 4185,
                                                                                                                                                                     8393-1, at 16,
359   Kathryn      S.         Pruim              Unknown         David       L.        Pruim                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                     313, at P4715,
                                                                                                                                                                     8393-1, at 28,
360   A.           G.         R.                 Unknown         Harry                 Ramos                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                     26, 29, at 2321,
                                                                                                                                                                     8393-1, at 52,
361   A.           H.         R.                 Unknown         Mark        H.        Rosen                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616, 1,
                                                                                                                                                                     at 563, 8393-1, at
362   A.           J.S.       R.                 United States   Howard                Selwyn                      United States 9/11/01   NY (WTC)     03-cv-9849   29, 8487             Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                     26, 29, at 2321,
                                                                                                                                                                     8393-1, at 52,
363   B.           M.         R.                 Unknown         Mark        H.        Rosen                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                     313, at P4715,
                                                                                                                                                                     8393-1, at 28,
364   E.           H.         R.                 Unknown         Harry                 Ramos                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                     232, at P3921,
                                                                                                                                                                     8393-1, at 40,
365   K.           B.         R.                 Unknown         Jonathan              Randall                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                           VA                        313, at P4716,
366   M.                      R.                 Unknown         Marsha                Ratchford                   United States 9/11/01   (Pentagon)   03-cv-9849   8466-1, at 3, 8487   Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616, 3,
                                                                                                                                                                     at 1413, 8393-1,
367   M.                      R.                 Unknown         Jose                  Marrero                     United States 9/11/01   NY (WTC)     03-cv-9849   at 40, 8487          Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                     26, 29, at 2321,
                                                                                                                                                                     8393-1, at 52,
368   M.           E.         R.                 Unknown         Mark        H.        Rosen                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                     305, at P4494,
                                                                                                                                                                     8393-1, at 84,
369   Thankachan              Raju               Unknown         Valsa                 Raju                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                     313, at P4715,
                                                                                                                                                                     8393-1, at 28,
370   Migdalia                Ramos              Unknown         Harry                 Ramos                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                     1:02-cv-01616,
371   Victoria                Randall            Unknown         Stephen     Gordon    Ward                        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4662      Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                     1:02-cv-01616,
372   Judy         Peak       Rhodes             Unknown         Stacey      Lynn      Peak                        United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4474        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                     232, at P3928,
                                                                                                                                                                     8393-1, at 73,
373   Jo Ann       R.         Riccio             Unknown         Rudolph     N.        Riccio                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                     1:02-cv-01616,
374   Karen        E.         Roberts            Unknown         Michael     Edward    Roberts                     United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 2310      Sibling   $   4,250,000.00 $    12,750,000.00




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                                                                                                                          EXHIBIT B-2
                                                                                                     SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT

                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     432, at P4921,
375                                   Carmen                Rodriguez            Unknown         Angel                Perez              Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 3, 8487   Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
376                                   Jesus       Sanchez   Rosado               Unknown         Jesus                Sanchez                      United States 9/11/01   NY (UA175)   03-cv-9849   313, at P4728        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     232, at P3936,
                                                                                                                                                                                                     8393-1, at 43,
377   Helen          K.   Rosenthal   Avram                 Rosenthal            Unknown         Joshua     Alan      Rosenthal                    United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
378                                   Peter       A.        Rossomando           United States   Nicholas   Peter     Rossomando                   United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4319      Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
379                                   Doreen      E.        Rowland              Unknown         John       Daniel    Marshall                     United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4692        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:03-md-01570,
380                                   Anna        M.        Ruess                Unknown         Philip     Paul      Ognibene                     United States 9/11/01   NY (WTC)     03-cv-9849   3477, at 2673        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
381                                   Clifford              Russell        Sr.   United States   Stephen    P.        Russell                      United States 9/11/01   NY (Other)   03-cv-9849   232, at P4943        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 2323,
                                                                                                                                                                                                     8393-1, at 86,
382                                   Arthur                Russo                Unknown         Wayne      A.        Russo                        United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 3,
                                                                                                                                                                                                     at 1682, 8466-1,
383                                   H.          C.        S.                   Unknown         George               Strauch                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1, 8487           Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 4338,
                                                                                                                                                                                                     8393-1, at 80,
384                                   J.          E.        S.                   United States   Thomas     E.        Sabella                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 4724,
385                                   K.          M.        S.                   Unknown         Glenn      E.        Wilkinson                    United States 9/11/01   NY (Other)   03-cv-9849   8466-1, at 1, 8487   Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     26, 29, at 4338,
                                                                                                                                                                                                     8393-1, at 80,
386                                   N.          J.        S.                   United States   Thomas     E.        Sabella                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                     232, at P4086,
                                                                                                                                                                                                     8393-1, at 66,
387                                   R.                    S.                   Unknown         Peter      A.        Siracuse                     United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:03-md-01570,
388                                   Z.          S.        S.                   United States   Douglas    J.        Stone                        United States 9/11/01   NY (AA11)    03-cv-9849   3477, at 3469        Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
389                                   Frank       Carl      Sadocha              United States   Francis    John      Sadocha                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4508        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
390                                   Jose        Luis      San Pio              Unknown         Sylvia               San Pio                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4356      Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
391                                   Karl        H.        Schmidt              Unknown         Karen      Helene    Schmidt                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2341      Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616,
392                                   Nancy                 Schwartz             Unknown         Mark                 Schwartz                     United States 9/11/01   NY (Other)   03-cv-9849   313, at P4731        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                     1:02-cv-01616, 1,
                                                                                 United                                                                                                              at 563, 8397-1, at
393   Barry; James        Winter      Frances     Ruth      Selwyn               Kingdom         Howard               Selwyn                       United States 9/11/01   NY (WTC)     03-cv-9849   25, 8433             Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 3,
394                                   Avigdor               Shwartzstein         United States   Allan      Abraham   Shwartzstein                 Unknown      9/11/01    NY (WTC)     03-cv-9849   at 1639              Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
395                                   Kathleen    H.        Simmons              Unknown         Bruce      E.        Simmons                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2363      Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
396                                   Loretta     T.        Slavin               United States   Vincent    R.        Slavin                       Unknown      9/11/01    NY (WTC)     03-cv-9849   305, at P4528        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           VA                        1:02-cv-01616,
397                                   Roosevelt             Stallworth     Sr.   Unknown         Marsha               Ratchford                    United States 9/11/01   (Pentagon)   03-cv-9849   155, at P3073        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616,
398                                   Elizabeth             Stewart              Ireland         Michael    James     Stewart                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3963        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:02-cv-01616, 3,
399                                   Virginia              Strauch              United States   George               Strauch                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1682              Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                           VA                        1:02-cv-01616,
400                                   Lee                   Strickland           Unknown         Larry      Lee       Strickland                   United States 9/11/01   (Pentagon)   03-cv-9849   155, at P3105        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           VA                        1:02-cv-01616,
401                                   Olga        C.        Strickland           Unknown         Larry      Lee       Strickland                   United States 9/11/01   (Pentagon)   03-cv-9849   155, at P3106        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                     1:03-cv-09849,
                                                                                                                                                                                                     844, at 16; 8679-
402                                   Donna                 Struzzieri           Unknown         Bruce      Henry     Gary                         United States 9/11/01   NY (Other)   03-cv-9849   1, at 152, 8696      Sibling   $   4,250,000.00 $    12,750,000.00




                                                                                                                                   Page 16 of 18
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                                                                                                                            EXHIBIT B-2
                                                                                                       SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         26, 29, at 4476,
                                                                                                                                                                                                         8393-1, at 87,
403                                         Angela               Suarez             Unknown         Benjamin               Suarez                      United States 9/11/01   NY (Other)   03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:03-cv-9849,
                                                                                                                                                                                                         HAND FILED, at
                                                                                                                                                                                                         P5279, 8393-1, at
404                                         Noreen               Supinski           Unknown         Colleen    M.          Supinski                    United States 9/11/01   NY (WTC)     03-cv-9849   13, 8487             Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:03-cv-9849,
                                                                                                                                                                                                         HAND FILED, at
                                                                                                                                                                                                         P5278, 8393-1, at
405                                         Steven      A.       Supinski           Unknown         Colleen    M.          Supinski                    United States 9/11/01   NY (WTC)     03-cv-9849   13, 8487             Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
406                                         Robert               Sutcliffe    Sr.   Unknown         Robert     E.          Sutcliffe         Jr.       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3969        Parent    $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         313, at P4588,
407                                         H.                   T.                 Unknown         Tariq                  Amanullah                   United States 9/11/01   NY (WTC)     03-cv-9849   8466-1, at 1, 8487   Child     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         313, at P4588,
408                                         M.                   T.                 Unknown         Tariq                  Amanullah                   United States 9/11/01   NY (WTC)     03-cv-9849   8466-1, at 1, 8487   Child     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         232, at P3980,
409                                         S.          L.       T.                 Unknown         Donnie     B.          Taylor            Sr.       United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 20, 848   Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
410   Severino   Rogan   Tamayo       Jr.   Severino    Yabut    Tamayo       Sr.   United States   Hector     R.          Tamayo                      United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3974        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
411                                         Donnie      Brooks   Taylor             Unknown         Donnie     B.          Taylor            Sr.       United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3979        Child     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         232, at P3980,
412                                         Sarah                Taylor             Unknown         Donnie     B.          Taylor            Sr.       United States 9/11/01   NY (WTC)     03-cv-9849   8393-1, at 20, 848   Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
413                                         Ana         Maria    Tempesta           United States   Anthony                Tempesta                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2389      Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         26, 29, at 2395,
                                                                                                                                                                                                         8393-1, at 20,
414                                         Louis                Temple             Unknown         Dorothy    Pearl       Temple                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
415                                         Lillian     C.       Tetreault          Unknown         Renee      Tetreault   Newell                      United States 9/11/01   NY (AA11)    03-cv-9849   155, at P3050        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
416   Jason      Reed    Tieste             Ronald      Bruce    Tieste             United States   William    R.          Tieste                      United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4552        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
417                                         Timothy     J.       Tighe              United States   Stephen    Edward      Tighe                       United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2399      Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
418                                         Marcella    T.       Veling             Unknown         Lawrence   Gerard      Veling                      United States 9/11/01   NY (WTC)     03-cv-9849   313, at P4756        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         77, at P2735,
                                                                                                                                                                                                         8397-1, at 28,
419   Leonard            Vollkommer         Christine            Vollkommer         United States   Robert     W.          Spear             Jr.       United States 9/11/01   NY (Other)   03-cv-9849   8433                 Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         232, at P4032,
                                                                                                                                                                                                         8393-1, at 54,
420                                         A.                   W.                 Unknown         Mary                   Wieman                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         305, at P4562,
                                                                                                                                                                                                         8393-1, at 32,
421                                         C.                   W.                 Unknown         James                  Walsh                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         232, at P4032,
                                                                                                                                                                                                         8393-1, at 54,
422                                         C.                   W.                 Unknown         Mary                   Wieman                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         26, 29, at 4724,
423                                         C.          E.       W.                 Unknown         Glenn      E.          Wilkinson                   United States 9/11/01   NY (Other)   03-cv-9849   8466-1, at 1, 8487   Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         305, at P4562,
                                                                                                                                                                                                         8393-1, at 32,
424                                         F.                   W.                 Unknown         James                  Walsh                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                         1:02-cv-01616,
                                                                                                                                                                                                         26, 29, at 4724,
425                                         K.          D.       W.                 Unknown         Glenn      E.          Wilkinson                   United States 9/11/01   NY (Other)   03-cv-9849   8466-1, at 1, 8487   Child     $   8,500,000.00 $    25,500,000.00



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                                                                         SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                           232, at P4032,
                                                                                                                                                                           8393-1, at 54,
426   M.         J.          W.                   Unknown         Mary                       Wieman                      United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                           305, at P4569,
                                                                                                                                                                           8393-1, at 88,
427   Z.                     W.                   Unknown         William      Michael       Weems                       United States 9/11/01   NY (UA175)   03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
428   Sara       Elizabeth   Walling              United States   Donald       H.            Gregory                     United States 9/11/01   NY (WTC)     03-cv-9849   232, at P3707        Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                           305, at P4562,
                                                                                                                                                                           8393-1, at 32,
429   Kate       Louise      Walsh Calton         Unknown         James                      Walsh                       United States 9/11/01   NY (WTC)     03-cv-9849   8487                 Spouse    $   12,500,000.00 $   37,500,000.00
                                                                                                                                                                           1:02-cv-01616,
430   Zhenjie                Wang                 Unknown         Weibin                     Wang                        United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4564        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
431   Kenneth    R.          Ward                 Unknown         Stephen      Gordon        Ward                        United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4663      Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           1:02-cv-01616,
432   Earnest                Washington     Jr.   Unknown         Derrick      Christopher   Washington                  United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2421      Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                 VA                        1:02-cv-01616, 3,
433   Sandra     S.          Weaver               Unknown         Stephen      V.            Long                        United States 9/11/01   (Pentagon)   03-cv-9849   at 1361              Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
434   Kristen    E.          Whalen               Unknown         Meredith     Lynn          Whalen                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4701      Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           1:02-cv-01616,
435   Patricia   J.          Whalen               United States   Meredith     Lynn          Whalen                      United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 4700      Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
436   Alfred     L.          Whelan         Sr.   Unknown         Eugene                     Whelan                      United States 9/11/01   NY (Other)   03-cv-9849   26, 29, at 4708      Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616, 1,
437   Ronald     J.          Willett              Unknown         John         Charles       Willett                     United States 9/11/01   NY (WTC)     03-cv-9849   at 655               Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
438   George     Peter       Williamson           Unknown         John         P.            Williamson                  United States 9/11/01   NY (Other)   03-cv-9849   305, at P4574        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           1:02-cv-01616,
439   Lucy                   Williamson           Unknown         John         P.            Williamson                  United States 9/11/01   NY (Other)   03-cv-9849   305, at P4573        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616, 1,
440   William                Wilson               Unknown         Patricia     Ann           Puma                        United States 9/11/01   NY (WTC)     03-cv-9849   at 484               Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
441   Therese                Winters              Unknown         Christine                  Olender                     United States 9/11/01   NY (WTC)     03-cv-9849   432, at P4916        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           1:02-cv-01616, 1,
442   Arnold     R.          Wittenstein          United States   Michael      Robert        Wittenstein                 United States 9/11/01   NY (WTC)     03-cv-9849   at 659               Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
443   Florence               Wittner              Unknown         Craig        William       Staub                       United States 9/11/01   NY (WTC)     03-cv-9849   305, at P4544        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
444   John       Knowles     Woodwell       III   Unknown         Richard      H.            Woodwell                    United States 9/11/01   NY (WTC)     03-cv-9849   26, 29, at 2433      Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           1:02-cv-01616,
                                                                                                                                                                           432, at P4982,
                                                                                                                                                                           8393-1, at 84,
445   C.         N.          Y.                   United States   Vicki        L.            Yancey                      United States 9/11/01   VA (AA77)    03-cv-9849   8487                 Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:03-md-01570,
446   M.         M.          Y.                   Unknown         Vicki        L.            Yancey                      United States 9/11/01   VA (AA77)    03-cv-9849   3477, at 3958        Child     $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
447   Mehasen    A.          Zakhary              Egypt           Adel         A.            Zakhary                     United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3171        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           1:02-cv-01616,
448   Nadia      A.          Zakhary              Egypt           Adel         A.            Zakhary                     United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3172        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           1:02-cv-01616,
449   Talat      A.          Zakhary              Egypt           Adel         A.            Zakhary                     United States 9/11/01   NY (WTC)     03-cv-9849   155, at P3174        Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           1:02-cv-01616, 1,
                                                                                                                                                                           at 179, 8393-1, at
450   Gricel     G.          Zayas-Moyer          Unknown         Manuel                     Del Valle         Jr.       United States 9/11/01   NY (Other)   03-cv-9849   51, 8487             Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616, 1,
451   Jane       Alderman    Zeitz                Unknown         Peter        Craig         Alderman                    United States 9/11/01   NY (WTC)     03-cv-9849   at 21                Sibling   $   4,250,000.00 $    12,750,000.00
                                                                                                                                                                           1:02-cv-01616, 3,
452   Jack                   Zelman               Unknown         Kenneth      Albert        Zelman                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1756              Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616, 3,
453   Ruth                   Zelman               Unknown         Kenneth      Albert        Zelman                      United States 9/11/01   NY (WTC)     03-cv-9849   at 1757              Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616,
454   Cai                    Zhang                Unknown         Liming                     Gu                          United States 9/11/01   NY (WTC)     03-cv-9849   155, at P2920        Parent    $   8,500,000.00 $    25,500,000.00
                                                                                                                                                                           1:02-cv-01616, 3,
                                                                                                                                                                           at 1766, 8393-1,
455   Alan       Lemuel      Zukelman             United States   Igor                       Zukelman                    Ukraine      9/11/01    NY (WTC)     03-cv-9849   at 467, 8487         Child     $   8,500,000.00 $    25,500,000.00




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